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                             UNITED STATES DISTRICT COURT
                                     * Arraignment *

Date: 09/27/2019                                  Case No.: 1:19-cr-253-TSE-2, 4, 6, 7, 8
Court Time: 1:32 p.m. – 2:14 p.m. (00:42)


UNITED STATES OF AMERICA v. DARRYL JULIUS POLO (2)
                            FELIPE GARCIA (4)
                            PETER H. HUBER (6)
                            YOANY VAILLANT (7)
                            ANGEL VILLARINO (8)
PRESENT:              Honorable T.S. Ellis, III, U. S. District Judge

                      COURTROOM DEPUTY:                 Tanya Randall
                      COURTROOM REPORTER:               Patricia Kaneshiro-Miller
                      ASST. U.S. ATTORNEY:              Alexander Berrang, Matthew Lamberti
                      COUNSEL FOR DEFT:                 Elizabeth Ann Mullin (2)
                                                        John Kiyonaga (4)
                                                        Christopher Amolsch (6)
                                                        Lana Manitta (7)
                                                        Mary Nerino for David Benowitz (8)
                  •   Counsel for deft, Kristopher Lee Dallman(1), Vernida Chaney
                  •   Counsel for deft, Douglas M. Courson(3), Douglas Steinberg
                  •   Counsel for deft, Jared Edward Jaurequi (5), Lana Manitta for John
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PROCEEDINGS:

[ X ] Defendant is arraigned and specifically advised of rights.

[ X ] Defendant waives reading of indictment – WFA

[ X ] Defendant pled NG and demanded trial by jury

   •    Court finds there is adequate basis to go beyond the speedy trial date in December.

   •    Government to prepare and submit speedy trial act order that this is a complex case.

   •    Government estimates 5 – 7 full trial days.

   •    JURY TRIAL SET FOR FEBRUARY 3, 2020 @ 10:00 A.M.

   •    Counsel Douglas Steinberg for defendant, Douglas M. Courson(3) indicated he has a
        conflict with trial date. Court to replace counsel, Douglas Steinberg.
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   •    Defense to submit in writing that defendant(s) has waived speedy trial under the Speedy
        Trial Act.

   •    Court advised parties that court will convene again on October 11, 2019 at 1:00 p.m.
        and all parties should be present for Motions and Motions Hearing Dates to be set.

   •    Court informed the parties that if defendant(s) waives appearance for the October 11th
        hearing, counsel need to submit pleading that defendant has waived appearance.

[ X ] Joint Motion for Entry of Stipulated Protective Order, Protective Order, Discovery Order
entered in open court as to Deft(s) (5), (7), and (8)

[ X ] Joint Motion for Entry of Stipulated Protective Order and Protective Order entered in open
court as to Deft(s) (1).


Defendant     [   ] Remanded [ X ] Continued on Bond [ ] Released on          Bond –
                                                   see Order Setting Conditions of Release
